Case 1:04-cv-01303-.]DT-STA Document 8 Filed 06/30/05 Page 1 of 2 Page|D 8

 

 

 

IN THE UNITED sTATEs DIsTRiCT COURT F|LE§ §`:“‘, ,, §§
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION 05 tim 30 PH 3: l.;.[!

l
WILLlAM BELCHIA, §
l
Plaintiff, §
l

Vs. § No. 04-1303-T/An
CORRECTIONS CORPORATION OF §
AMERICA, et al., §
Defendants. §
l

ORDER

 

On November 18, 2004, Plaintiff William Belchia, Tennessee Departrnent of
Correction prisoner number 152705, an inmate at the Whiteville Correctional Facility
("WCF"), filed a § 1983 complaint Because Belchia did not tile an application seeking
leave to proceed i_n forma pauperis the Court, by order entered June 6, 2005, directed him
to comply with the Prison Litigation Reform Act of 1995 ("PLRA"), 28 U.S.C. § l915(b),
by submitting both an i_n w M affidavit and a prison trust fund account statement
On June 21, 2005, plaintiff submitted the required documents Accordingly, plaintiff’ s
motion to proceed i_n m pa_u];m is GRANTED M m M in accordance With the
terms of the assessment order entered on June 6, 2005.

IT ls so ORDERED this :L¢§;y of June, 2005.

QM~MB»@M

AMES D. TODD
UNITED ATES DISTRICT JUDGE

 

Th|s document entered on the docket shoot ln compliance
with Hula 58 and,-’or_?a (a) FRCP on .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:04-CV-01303 Was distributed by faX, mail, or direct printing on
July l, 2005 to the parties listed.

 

 

William Belchia

Whiteville Correctional Facility
l 52705

P. O. BoX 679

Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

